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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

AMERICAN FEDERATION OF
GOVERNMENT EMPLOYEES, ef al.

Plaintiffs,

V.

UNITED STATES OFFICE OF PERSONEL
MANAGEMENT, e¢ al.,

Defendants.

Case No. 3:25-cv-1780-WHA

DECLARATION OF CHARLES EZELL IN
SUPPORT OF DEFENDANTS’
OPPOSITION TO PLAINTIFFS’ MOTION
FOR A TERMPORARY RESTRAINING
ORDER AND TO SHOW CAUSE

Hearing Date: February 27, 2025

Time: 1:30 pm

Judge: Hon. William H. Alsup

Place: San Francisco Courthouse
Courtroom 12

Declaration of Charles Ezell in Support of Defendants’ Opposition to
Plaintiff's Motion for a Temporary Restraining Order and to Show Cause

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I, Charles Ezell, declare, pursuant to 28 U.S.C. § 1746, as follows:

1. I am the Acting Director of the U.S. Office of Personnel Management (“OPM” or
“Agency’), headquartered in Washington, D.C. I have served in this position since January 20,
2025. This declaration is based on my personal knowledge and information provided to me in
my official capacity by others.

2. OPM serves as the chief human resources agency and personnel policy manager
for the Federal Government. We position the federal government to be a model employer for
past and present employees through innovation and leadership. We are building a workforce that
empowers staff with the knowledge, skills, and ability to solve some of our nation's toughest
challenges.

3. In my role as Acting Director, and pursuant to my authority under 5 U.S.C.

§ 1103, on January 20, 2025, I issued guidance from OPM to agencies on the probationary
period, administrative leave and details. That January 20, 2025, guidance related to the steps that
agencies needed to take to identify probationary employees, assess their performance, and
manage staffing levels in order to advance their agencies’ missions. Att. A.

4. On February 14, 2025, OPM provided additional information to agencies through
the Chief Human Capital Officers (CHCO) Council. Citing publicly available guidance from
OPM and the MSPB, that message explained that “[a]n appointment is not final until the
probationary period is over,” and the probationary period is part of “the hiring process for
employees.” A probationer is still an applicant for a finalized appointment to a particular
position as well as to the Federal service. “Until the probationary period has been completed,” a
probationer has “the burden to demonstrate why it is in the public interest for the Government to
finalize an appointment to the civil service for this particular individual.” Att. B.

5. On February 24, 2025, OPM issued frequently asked questions (FAQs) that
included additional information regarding how agencies should evaluate their probationary
employees and identified the relevant regulations the agencies must follow if terminating certain

probationary employees covered by those regulations. Atts. C (FAQs) and D (cover email).

Declaration of Charles Ezell in Support of Defendants’ Opposition to
Plaintiff's Motion for a Temporary Restraining Order and to Show Cause
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6. The February 24, 2025, FAQs explained, “OPM has emphasized that individual
employee performance measurement should be ‘aligned with and support organizational goals’
and ‘focus[] employee efforts on achieving organizational and group goals.’ An employee’s
performance must be viewed through the current needs and best interest of the government, in
light of the President’s directive to dramatically reduce the size of the federal workforce.”

Att. C.

7. OPM did not direct agencies to terminate any particular probationary employees
based on performance or misconduct, and did not create a “mass termination program,” as the
plaintiffs in this matter described it. OPM asked agencies to engage in a focused review of
probationers based on how their performance was advancing the agencies’ mission, and allowed
them at all times to exclude whomever they wanted. Agencies made their own decisions about
which probationary employees they wished to keep and which probationary employees they
wished to terminate. Agencies took their own actions to terminate employees the agencies did
not wish to retain. And it was the responsibility of each agency to apply OPM and Merit
Systems Protection Board (MSPB) guidance, as well as applicable laws and regulations, as they
made their own determinations to terminate or retain their probationary employees.

8. If an agency terminates a probationary employee for improper reasons, I
understand that employees have options available to them to challenge those terminations. For
example, on February 25, 2025, the MSPB ordered OPM and several other agencies to return six
probationers to their positions for 45 days. This will allow the Office of Special Counsel to
investigate allegations that the agencies should have applied the rules relating to reductions in
force (1.e., layoffs) to the employees’ terminations. OPM will fully cooperate with that
investigation, including reinstating the one OPM probationary employee involved in that matter.

9. I have been informed that, on February 25, 2025, the Court in the above-captioned
matter posed a number of questions to Defendants. The Court’s questions and the answers to

those questions are set out below:

To what extent did OPM or individuals within OPM direct other agencies to
terminate probationary employees based on performance or misconduct? If

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Plaintiff's Motion for a Temporary Restraining Order and to Show Cause
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any such direction (or advice) is in writing, please provide the documents to
the Court.

10. OPM did not direct agencies to terminate probationary employees, based either on
performance or misconduct. Rather, as explained above, OPM reminded agencies of the
importance of the probationary period in evaluating applicants’ continued employment and
directed agencies to identify all employees on probationary periods and promptly determine
whether those employees should be retained at the agency. Agencies were responsible for
reviewing probationers’ performance. Agencies were responsible for deciding which
probationary employees to keep and to terminate. Agencies were responsible for taking action to
terminate their own employees they no longer wished to retain. And agencies were responsible
for taking that action in accordance with all applicable laws and regulations. The documents

relevant to this question are described above and are attached.

How can an agency lawfully terminate a probationary employee on the basis
of “performance” if that employee’s performance was in fact satisfactory?

11. Probationers are applicants for employment with the burden to demonstrate their
fitness for continued employment; there is no presumption that they will be retained. Agencies
are obligated to use the probationary period to determine the fitness of probationary employees
and must terminate employees’ services if they fail to demonstrate fully their qualifications for
continued employment. This determination must take into account the existing needs and
interests of government. The probationary period is part of the hiring process; agencies are not
required to hire every employee whose performance is “satisfactory.” An agency may
determine, and OPM has determined, that only the highest-performing probationers in mission-

critical areas demonstrate the necessary fitness or qualifications for continued employment.

Declaration of Charles Ezell in Support of Defendants’ Opposition to
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Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
and correct.

Dated: February 26, 2025

Me:

or “CHARLES ole

Declaration of Charles Ezell in Support of Defendants’ Opposition to
Plaintiff's Motion for a Temporary Restraining Order and to Show Cause
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